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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MARYLAND

PALM TRAN, INC. – AMALGAMATED
                                               Civil No. 8:21-cv-00955-PWG
TRANSIT UNION LOCAL 1577 PENSION
PLAN, Individually and on Behalf of All
Others Similarly Situated,
                                  Plaintiff,
                    v.
EMERGENT BIOSOLUTIONS INC.,
ROBERT G. KRAMER SR., RICHARD S.
LINDAHL, and SYED T. HUSAIN,
                               Defendants.

ALAN I. ROTH, Individually and on Behalf
                                               Civil No. 8:21-cv-01189-PWG
of All Others Similarly Situated,
                                  Plaintiff,
                    v.
EMERGENT BIOSOLUTIONS INC.,
ROBERT G. KRAMER SR., RICHARD S.
LINDAHL, and SYED T. HUSAIN,
                               Defendants.

STEPHEN M. WEISS, Individually and on
                                               Civil No. 8:21-cv-01368-PWG
Behalf of All Others Similarly Situated,
                                  Plaintiff,
                    v.
EMERGENT BIOSOLUTIONS INC.,
ROBERT G. KRAMER SR., RICHARD S.
LINDAHL, and SYED T. HUSAIN,
                               Defendants.

           ORDER CONSOLIDATING ACTIONS, APPOINTING LEAD
         PLAINTIFFS AND APPROVING LEAD AND LIAISON COUNSEL
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        WHEREAS, the Court has considered the competing motions for consolidation of the

above-captioned actions (the “Related Actions”), appointment of Lead Plaintiff(s), and approval

of Lead Counsel;

        IT IS HEREBY ORDERED THAT:

        I.       CONSOLIDATION OF RELATED ACTIONS

        1.       Pursuant to Federal Rule of Civil Procedure 42, the Related Actions are hereby

consolidated for all purposes into one action.

        2.       These actions shall be referred to herein as the “Consolidated Action.” This Order

shall apply to the Consolidated Action and to each case that is subsequently filed in this Court that

relates to the same subject matter as in the Consolidated Action.

        3.       Every pleading in this Consolidated Action shall bear the following caption:

                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MARYLAND

 IN RE EMERGENT BIOSOLUTIONS INC. Civil No. 8:21-cv-00955-PWG
 SECURITIES LITIGATION
                                  CLASS ACTION

 THIS DOCUMENT RELATES TO:                             [TITLE OF DOCUMENT]

        4.       When the document being filed pertains to all actions, the phrase “All Actions”

shall appear immediately after the phrase “This Document Relates To:”. When the document

applies to some, but not all, of the actions, the document shall list, immediately after the phrase

“This Document Relates To:”, the docket number for each individual action to which the document

applies, along with the name of the first-listed plaintiff in said action.

        5.       This Court requests assistance of counsel in calling to the attention of the Clerk of

this Court the filing or transfer of any case which might properly be deemed related to the

Consolidated Action and may properly be consolidated as part of this Consolidated Action and


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thereby subject to the terms of this Order, including the appointment of Lead Plaintiffs and Lead

and Liaison Counsel set forth herein.

       II.     MASTER DOCKET AND MASTER FILE

       6.      A Master Docket and Master File shall be established for the Consolidated Action.

The Master File shall be Civil No. 8:21-cv-00955-PWG. All orders, pleadings, motions and

other documents shall, when filed and docketed in the Master File, be deemed filed and docketed

in each individual case to the extent applicable. When an order, pleading, motion or document

is filed with a caption indicating that it is applicable to fewer than all individual actions in the

Consolidated Action, the clerk shall file such pleadings in the Master File and note such filing

in the Master Docket and in the docket of each action referenced.

       III.    APPOINTMENT OF LEAD PLAINTIFFS AND LEAD COUNSEL

       7.      Having reviewed all pending motions and accompanying memoranda of law, the

Court hereby appoints the Nova Scotia Health Employees’ Pension Plan (“NSHEPP”) and the City

of Fort Lauderdale Police & Firefighters’ Retirement System (“Fort Lauderdale P&F”) as Lead

Plaintiffs in the Consolidated Action. NSHEPP and Fort Lauderdale P&F satisfy the requirements

for Lead Plaintiffs pursuant to Section 21D(a)(3)(B)(iii) of the Private Securities Litigation Reform

Act of 1995 (“PSLRA”).

       8.      Lead Plaintiffs, pursuant to Section 21D(a)(3)(B)(v) of the PSLRA, have selected

and retained Pomerantz LLP as Lead Counsel and Cohen Milstein Sellers & Toll PLLC as Liaison

Counsel, which choices the Court likewise hereby approves.

       9.      Lead Counsel and/or Liaison Counsel shall have the following responsibilities and

duties, to be carried out either personally or through counsel to whom Lead Counsel and/or Liaison

Counsel shall designate as needed in Lead Counsel’s and/or Liaison Counsel’s discretion.



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       10.     No motion, request for discovery, or other pretrial proceedings shall be initiated or

filed by any plaintiffs or other class members without the approval of Lead Plaintiffs and Lead

Counsel, so as to prevent duplicative pleadings or discovery. No settlement negotiations shall be

conducted without the approval of Lead Plaintiff and Lead Counsel.

       11.     Counsel in any related action that is consolidated with this Consolidated Action

shall be bound by the appointment of Lead Plaintiffs, the appointment of Lead and Liaison counsel,

and the organization of Plaintiffs’ counsel set forth herein.

       12.     Lead Counsel shall direct and coordinate all activities of Plaintiffs’ counsel, and

Lead Counsel and/or Liaison Counsel shall be the primary contact amongst Plaintiffs’ counsel and

between Plaintiffs’ counsel and the Court and Defendants’ counsel.

       13.     Defendants shall effectuate service of papers on Lead Plaintiffs by serving a copy

of same on Lead Counsel and Liaison Counsel by electronic delivery and/or ECF. Lead Plaintiffs

shall effectuate service of papers on Defendants by serving a copy of same on Defendants’ counsel

by electronic delivery and/or by ECF on all counsel of record.

       14.     During the litigation’s pendency, or until further Order of this Court, the parties

shall take reasonable steps to preserve all documents within their possession, custody, or control,

including without limitation electronically-generated and -stored information, and materials such

as computerized data and electronic mail, containing information which is relevant or which may

lead to the discovery of information relevant to the subject matter of the pending litigation.

       IT IS SO ORDERED this 23rd day of December, 2021.



                                               _________/S/________________________
                                               PAUL W. GRIMM
                                               UNITED STATES DISTRICT JUDGE



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